Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 1 of 11




      EXHIBIT 26
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 2 of 11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 3 of 11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 4 of 11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 5 of 11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 6 of 11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 7 of 11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 8 of 11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 9 of 11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 10 of
                                      11
Case No. 1:13-cr-00392-CMA Document 249-27 filed 08/14/14 USDC Colorado pg 11 of
                                      11
